                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

NASIM AHMED
Z-46 STREET 40 PHASE 3 DHA
LAHORE, PUNJAB
PAKISTAN

ARZOO NASIM
36437 Tulane Dr.                           Case No.: 19-cv-1293
Sterling Height MI 48312

Plaintiffs

Against                                    COMPLAINT

JOSH GLAZEROFF, in his official capacity
as U.S. Consul General, U.S. Embassy
Islamabad Diplomatic Enclave, Ramna 5
Islamabad, Pakistan


Defendant
                             DESCRIPTION OF ACTION

1. This is an action brought by plaintiffs, ARZOO NASIM and NASIM AHMED to

   compel a decision on NASIM AHMED’S application for an immigrant visa which has

   been pending with the U.S. Consul General in Islamabad, Pakistan, for over four years,

   as well as to bring to a conclusion the unspecified “Administrative Processing” in

   pertaining to NASIM AHMED’s Immigration case.



                                 JURISDICTION

2. This being a civil action against the United States arising under the Immigration and

   Nationality Act, 8 U.S.C. § 1101 et. seq., the Mandamus Act, 28 U.S.C. § 1361, and the

   Administrative Procedure Act, 5 U.S.C. § 701 et seq., all laws of the United States,

   original jurisdiction over this matter is vested in this Court by 28 U.S.C. § 1331.


                         DESCRIPTION OF PARTIES


3. The plaintiff, ARZOO NASIM, is a citizen of the United States.

4. The plaintiff, NASIM AHMED, is a citizen of the Pakistan.

5. The Defendant JOSH GLAZEROFF is the Consul General at the U.S. Embassy in
   Islamabad, and as such has the authority to issue immigrant visas.


                  BRIEF STATEMENT OF RELEVANT FACTS

6. On 2014, USCIS approved ARZOO NASIM’s Petition for Immigrant (Form I-130)

   to classify her father, NASIM AHMED as immigrant under 201(b) of the
        Immigration and Nationality Act (INA).

     7. On August 4, 2014, National Visa Center issued an Affidavit of Support (AOS)

        Processing Fee Bill invoice in Case number ISL2014665010.

8.    On November 23, 2014, NASIM AHMED file a form DS 260, Case number

      ISL2014665010: Confirmation Number AA0049F310, with the National Visa Center.

9.    On August 20, 2015, NASIM AHMED was interviewed at the U.S. Embassy in

      Islamabad regarding his application for an immigrant visa.

10. Shortly thereafter NASIM AHMED was informed that his case had been in

      Administrative Processing for unspecified reasons.

11. NASIM AHMED filed a Form DS 260 again on May 23, 2017; and September 24,

      2018 with the National Visa Center, Case number ISL2014665010: Confirmation

      Number AA0049F310.

12. Form I-601 on behalf of NASIM AHMED was approved on March 28, 2017. Case

      Number: LIN1690602326 AXXXXXXXX

13. Form I-212 on behalf of AHMED NASIN approved on March 28, 2017. Case

      Number: LIN1690602327 AXXXXXXXX



                                         COUNT I

THE CONSUL GENERAL HAS BREACHED HIS DUTY TO NASIM AHMED TO
MAKE A FINAL DECISION ON HIS IMMIGRANT VISA APPLICATION WITHIN A
REASONABLE TIME.

     14. JOSH GLAZEROFF, Consul General of the U.S. Embassy in Islamabad, is an officer

        of the United States Department of State, an agency of the United States government.

     15. The Consul General of the U.S. Embassy in Islamabad owes a duty to NASIM
       AHMED to make a decision regarding his immigrant visa application within a

       reasonable period of time. 5 U.S.C. § 555(b) ("With due regard for the convenience and

       necessity of the parties or their representatives and within a reasonable time, each

       agency shall proceed to conclude a matter presented to it.").

   16. The over four years in which this application has been pending with the Consul General

       of the U.S. Embassy in Islamabad and/or his predecessor(s), is well beyond the time

       which is reasonably required to adjudicate it.

   17. This Court has authority under 28 U.S.C. § 1361 to compel an officer or employee of the

       United States to perform a duty owed to the Plaintiff.

   18. This Court also has authority under 5 U.S.C. § 706(1) to compel agency action

       unlawfully withheld or unreasonably delayed.

   19. The Ninth Circuit has held that consulates may be required to issue or refuse a visa:

              A consular office is required by law to act on visa applications. Under 22 C.F.R. §
              42.81, "[w]hen a visa application has been properly completed and executed
              before a consular officer in accordance with the provision of INA and the
              implementing regulations, the consular officer shall either issue or refuse the visa.
              Every refusal shall be in conformance with the provisions of 22 C.F.R. 40.6." In
              addition, the section is entitled, "Issuance or refusal mandatory."

Patel v. Reno, 134 F.3d 929, 932 (9th Cir. 1997)

                                     RELIEF REQUESTED

   20. WHEREFORE it is respectfully requested that the Court find that an adjudication of

       NASIM AHMED’s application for a visa to have been unreasonably delayed and

       compel Defendant, the Consul General of the U.S. Embassy in Islamabad, to adjudicate

       NASIM AHMED’S application for an immigrant visa in no more than 30 days from the

       date of the Court's order, and to take such other action as it deems appropriate.

   21. WHEREFORE it is respectfully requested that the Court find that the “Administrative
       Processing” of the Petition for Immigrant upon behalf of NASIM AHMED to be

       unreasonably delayed and compel said Defendant to complete their “Administrative

       Processing” of this petition in no more than 30 days from the date of the Court's order,

       and to take such other action as it deems appropriate.




 Dated this 26th day of May, 2019




s/ Michael E. Piston MI 002
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